Case: 1:09-cr-00383 Document #: 1054 Filed: 03/26/25 Page 1 of 1 PageID #:11921

                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                 Eastern Division

UNITED STATES OF AMERICA
                                       Plaintiff,
v.                                                   Case No.: 1:09−cr−00383
                                                     Honorable Sharon Johnson Coleman
, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 26, 2025:


        MINUTE entry before the Honorable Sharon Johnson Coleman as to Ovidio
Guzman Lopez (22): The in−person status hearing set for 3/31/2025 is stricken and reset
to 5/12/2025 at 1:30 PM. By agreement of the parties, time is excluded to 5/12/2025
pursuant to 18 U.S.C. §3161(h)(7)(B)(i). Mailed notice. (ym)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
